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             EXHIBIT 8
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From:              Christine Kwon
To:                Greg Singer; sibley@camarasibley.com
Cc:                John Lauro; Filzah Pavalon; Governski, Meryl Conant; Houghton-Larsen, M Annie; Kenney, Logan; Dorner, Alexis;
                   John Langford
Subject:           Freeman v. Giuliani, 1:21-cv-03354-BAH (D.D.C.) - May 16 Deposition of Christina Bobb
Date:              Wednesday, April 26, 2023 6:00:09 PM
Attachments:       20230426 Notice of Deposition Subpoena - Bobb.pdf
                   20230426 Bobb Deposition Subpoena.pdf
                   Giuliani - Exhibit 11.PDF
                   Giuliani - Exhibit 12.PDF
                   Giuliani - Exhibit 35.PDF



                                        *** EXTERNAL EMAIL ***

Dear Greg and Joe,

Please find attached an updated deposition subpoena and associated notice for third-party witness
Christina Bobb to testify on Tuesday, May 16, 2023, at a deposition in the above-captioned litigation.

As previously discussed, in advance of the deposition and by no later than May 5, we expect Ms. Bobb to
produce relevant documents and communications pursuant to the Rule 45 document subpoena to her.
We expect that production to include documents and communications from CGB Strategies, an entity
within Ms. Bobb’s control and/or custody.

I also write to run through (1) potential privilege issues and (2) some logistics.

(1) Potential Privilege Issues

We understand that Ms. Bobb will be providing documents to Mr. Giuliani to assess various privileges,
and that she will produce a complete privilege log for any documents withheld or redacted no later than
May 5 that provides sufficient details for determining the basis for the purported asserted privilege. Given
the tight timeline before Ms. Bobb’s deposition and the close of discovery, we would like to set up a
conferral for Monday, May 8, to discuss the asserted privileges and to allow for judicial intervention in
advance of the deposition if necessary. We would like to avoid the need for motions practice after the
deposition if Ms. Bobb intends to make similar privilege objections during her testimony, but we reserve
all rights depending on what occurs.

Given that counsel for Ms. Bobb and Mr. Giuliani are consulting about Mr. Giuliani’s privilege assertions,
we want to point out that during his March 1, 2023, deposition in the above-captioned litigation, counsel
for Mr. Giuliani did not assert any privilege or instruct Mr. Giuliani not to answer any questions. He
testified on a broad range of issues, including many about which we expect Ms. Bobb also has personal
knowledge and to which she should be able to testify without any objection. Mr. Giuliani either did not
believe the topics to be privileged or, if so, waived any related privileges on the topics to which he
testified. These topics include but are not limited to:


        The individuals who comprised the team assisting Defendant Giuliani with his post-election efforts
        (“Giuliani Team”), as well as their roles and methods of communication, and the scope and
        purpose of their work, see Transcript of Deposition of Rudolph W. Giuliani, Freeman v. Giuliani,
        No. 21-3354 (D.D.C.), at 87:20-90:2, 90:19-92:13, 195:4-7, 270:15-25, 271:9-272:13, 274:4-14
        (hereinafter “Tr.”);


        Allegations about Ruby Freeman and Shaye Moss, plaintiffs in the above-captioned litigation
        (“Plaintiffs”), including the alleged basis of those allegations and investigate steps (if any) taken to
        evaluate the same, see Tr. 106:19-125:19, 126:7-145:15, 151:12-164:14, 165:3-179:20, 183:3-
        197:24, 200:5-210:19, 212:4-221:2, 221:15-237:17, 245:19-253:21, 298:3-299:4, 300:8-301:25,
        305:11-312:23, 330:11-377:2, 381:5-385:24, 387:19-388:17, 397:17-405:4;
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       The Giuliani Team’s efforts pertaining to alleged election fraud occurring at the State Farm Arena
       in Atlanta, Georgia, during the 2020 presidential election, including documents reviewed,
       prepared, or considered, see id.;


       Correspondence and communications with third parties, including government officials and other
       members of Mr. Giuliani’s Trump 2020 campaign team (“Giuliani Team”), concerning the Giuliani
       Team’s efforts pertaining to alleged election fraud occurring at the State Farm Arena in Atlanta,
       Georgia, during the 2020 presidential election, see Tr. 146:16-20, 165:19-166:23, 187:19-196:5,
       255:11-258:25, 262:25-266:14;


       The Giuliani Team’s strategic plan, including the Giuliani Presidential Legal Defense Team’s
       Strategic Communications Plan, relating to allegations of fraud occurring at the State Farm Arena
       in Atlanta, Georgia, during the 2020 presidential election, see Tr. 237:18-253:21, 255:2-281:17;


       Security-camera video showing images of Plaintiffs at State Farm Arena on the date of the 2020
       presidential election, including but not limited to as illustrated between 33:27-50:26 at this link
       (“Trump Edited Video”), including how Mr. Giuliani came to learn of it and communications among
       the Giuliani Team regarding its meaning, see Tr. 120:21-124:1, 135:12-23, 221:17-233:7, 335:25-
       365:11, 369:18-375:24;


       Alleged bases for claiming that Plaintiffs passed a USB drive, including but not limited to purported
       conversations at the Republican National Committee’s offices, see Tr. 183:3-210:19, 211:25-
       221:2, 387:19-389:4;


       Affidavits from two Republican election observers (Mitchell Harrison and Michelle Branton) and an
       investigator in the Georgia Secretary of State’s Office (Frances Watson) relating to allegations of
       fraud occurring at the State Farm Arena in Atlanta, Georgia, during the 2020 presidential election,
       see Exhibits 11, 12, and 35 in Mr. Giuliani’s deposition (attached); Tr. 139:9-149:23, 151:13-
       164:14, 380:19-385:23;


       Testimony before the U.S. House of Representatives Select Committee to Investigate the January
       6th Attack on the U.S. Capitol (“January 6 Committee”) by Ms. Bobb and other Giuliani Team
       members relating to allegations of fraud occurring at the State Farm Arena in Atlanta, Georgia,
       during the 2020 presidential election, see Tr. 240:2-241:7, 259:18-261:16, 265:9-266:3, 293:17-
       297:20, 387:2-15.

We expect Ms. Bobb to follow Mr. Giuliani’s lead and testify on all of the topics and documents listed
above, if asked.

If that is not the case, and Ms. Bobb expects to invoke any privilege, including but not limited to attorney-
client privilege, attorney work product protection, or reporter’s privilege, with regard to any of the above
topics or documents during her May 16, 2023, deposition, please inform us and provide case law
supporting such invocations sufficiently in advance of the deposition.

To facilitate your evaluation of potential privilege issues, we consent to sharing the transcript of Mr.
Giuliani’s deposition in the above-captioned litigation on an Attorney’s Eyes Only basis.

If we do not receive authorities supporting Ms. Bobb’s invocation of various privileges regarding the topics
and documents above, we will proceed on the understanding that Ms. Bobb will not assert any privilege
regarding the above topics and documents. If Ms. Bobb does invoke any privilege regarding the above
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topics and documents, we reserve all rights to seek court intervention, including emergency relief during
the deposition.

Finally, please note that we do not consider the above list of topics and documents as confirming or
exhaustive of those about which we may question Ms. Bobb during her deposition. Nor do we understand
any obligation to provide deposition topics. Rather, we provide this information to ensure a productive
deposition for all.

(2) Logistics

We have confirmed use of Boies Schiller’s Fort Lauderdale office for Ms. Bobb’s deposition beginning at
12:30 PM on Tuesday, May 16. Please advise whether you and/or anyone else will accompany Ms. Bobb
in person so that we may share names with security.

The address is: 401 East Las Olas Blvd, Suite 1200, Fort Lauderdale, FL 33301.

Thank you,

Christine

--
Christine Kwon
Counsel, Protect Democracy
christine.kwon@protectdemocracy.org
she/her/hers

--
You received this message because you are subscribed to the Google Groups "Giuliani" group.
To unsubscribe from this group and stop receiving emails from it, send an email to giuliani-
litigation-team+unsubscribe@protectdemocracy.org.
To view this discussion on the web visit
https://groups.google.com/a/protectdemocracy.org/d/msgid/giuliani-litigation-
team/CAK%3D337nF1Th%3DA9VJDcd5Ch6bDY%2BtmFk3dN%2B-WaMnRF-
zBK%3DLvA%40mail.gmail.com.
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN et al.,

                    Plaintiffs,               Case No. 1:21-cv-03354 (BAH)

             v.                               Chief Judge Beryl A. Howell

RUDOLPH W. GIULIANI,

                    Defendant.




    PLAINTIFFS’ NOTICE OF DEPOSITION SUBPOENA TO CHRISTINA BOBB

       PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules of

Civil Procedure, Plaintiffs Ruby Freeman and Wandrea’ ArShaye (“Shaye”) Moss will serve on

Christina Bobb the subpoena attached hereto, pursuant to which Christina Bobb is requested to

testify at a deposition at the offices of Boies Schiller Flexner LLP, 401 E. Olas Blvd. Suite

1200, Fort Lauderdale, FL 33301, on May 16, 2023.

DATED: April 26, 2023

                                              By: /s/ John Langford
                                                  UNITED TO PROTECT DEMOCRACY
                                                  John Langford (admitted pro hac vice)
                                                  NY Bar No. 5348479
                                                  Rachel Goodman (admitted pro hac vice)
                                                  NY Bar No. 4879458
                                                  82 Nassau Street, #601
                                                  New York, NY 10038
                                                  Tel: (202) 579-4582
                                                  john.langford@protectdemocracy.org
                                                  rachel.goodman@protectdemocracy.org

                                                    Attorneys for Plaintiffs Ruby Freeman and
                                                    Wandrea’ Moss
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                                CERTIFICATE OF SERVICE
       I hereby certify that on April 26, 2023, a copy of the foregoing document was emailed

to   Defendant   Rudolph   W.    Giuliani   via    his   counsel   Joseph    D. Sibley   IV   at

sibley@camarasibley.com.


       Dated: April 26, 2023

                                                  By: /s/ John Langford
                                                      UNITED TO PROTECT DEMOCRACY
                                                      John Langford (admitted pro hac vice)
                                                      NY Bar No. 5348479
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